 

Case 5:22-cv-00159-F Document 1-2 Filed 02/22/22 Page1of 4

FILED IN DISTRICT COURT

McClain County, Oklahoma
IN THE DISTRICT COURT OF McCLAIN COUNTY

STATE OF OKLAHOMA AUG 2.0 2021
TIANA STANLEY, | Kristel Gray, Court Clerk
Plaintiff, — y yO. Deputy
/  S
Vv. } Case No.: Cy -2Q1-1359
3
HENRY NENIEBARI WIFA; and }
HALLIBURTON ENERGY SERVICES,  }
an Oklahoma Corporation, }
}
Defendants. }
+

PETITION

Comes now Plaintiff, TIANA STANLEY, by and through her counsel of record, G.
Thorne Stallings, Jr., and for her causes of action against said Defendants so alleges and states as
follows:

FIRST CAUSE OF ACTION

1. On or about September 7, 2019, Defendant HENRY NENIEBARI WIFA
(hereafter “WIFA”) was negligent in the operation of a motor vehicle in McClain County, State
of Oklahoma near Hwy 76 & 240° Street, Blanchard, Oklahoma, resulting in an automobile
accident involving Plaintiff.

2. That Plaintiff is a resident of McClain County.

3. That Defendant HALLIBURTON ENERGY SERVICES (“HALLIBURTON”) is
an Oklahoma Corporation doing business in the State of Oklahoma.

4. This Court has jurisdiction to adjudicate the matters to be tried in this lawsuit and
this Court is a proper venue because the collision occurred in McClain County, State of

Oklahoma.

 
 

Case 5:22-cv-00159-F Document 1-2 Filed 02/22/22 Page 2 of 4

5. At all times material to this case, Defendant WIFA acted with reckless disregard
to the safety of the Plaintiff.

6. That as a result of that accident, Plaintiff sustained severe personal injuries and
other damages, entitling her to judgment for all categories of damages allowed under law
exceeding the sum of Seventy-five Thousand Dollars ($75,000.00).

7. That Defendant WIFA’s| negligent conduct was wanton, and in reckless

disregard of Plaintiff's safety, thus entitling Plaintiff to exemplary damages as against him and

HALLIBURTON in sums in excess of Seventy-five Thousand Dollars ($75,000.00).
|

$ ECOND CAUSE OF ACTION

Plaintiff, TIANA STANLEY, incorporates by reference all allegations contained in her
First Cause of Action into her Second Cause of Action, for which she further states and alleges as
follows:

8. That all times referenced herein, Defendant WIFA was in the employment and
acting within the scope of his employment and/or authority of Defendant HALLIBURTON.
HALLIBURTON, as a result, is vicariously liable for WIFA’s neglect under the doctrine of
Respondent Superior.

9, That Defendant HALLIBURTON negligently hired Defendant WIFA, and is

therefore liable to Plaintiff for her damages.

 

10. That Defendant HALLIBURTON negligently entrusted Defendant WIFA with the
truck it owned and he was driving at the time of the accident, and is therefore liable to Plaintiff

for her damages.

11. That Defendant HALLIBURTON is thus liable for all of WIFA's negligent,

 

wanton and reckless conduct thus entitling Plaintiff to judgment for actual damages for all
 

Case 5:22-cv-00159-F Document 1-2 Filed 02/22/22 Page 3 of 4

categories allowed under Oklahoma Law in Excess of Seventy-five Thousand Dollars
($75,000.00), together with exemplary damages against said Defendants pursuant to law
exceeding Seventy-five Thousand Dollars ($75,000.00).

12. Pursuant to the provisions of 12 O.S. §3226(B)(2), Plaintiff submits this
preliminary computation of damages sought in this lawsuit. As this is an action for injuries
suffered by an adult, Plaintiff advises that all damages recoverable by law are sought, including

those listed in OUJI 4.1. Plaintiff is unable to guess or speculate as to what amount of damages a

|
judge and/or jury might award. The elements for the jury to consider in this case include the

 

following:
a. Plaintiff's physical pain and suffering, past and future;
b. Plaintiff's mental pain and suffering, past and future;
c. Plaintiff's age;
d. Plaintiff's physical condition immediately before and after the accident;
e. The nature and extent of Plaintiffs injuries;
f. Whether the injuries are permanent;
g. The physical impairment;
h. The disfigurement;

i. Loss of earnings/time; |

|
j. Impairment of earning capacity;
k. The reasonable expenses of the necessary medical care, treatment, and services,
past and future.

WHEREFORE, Plaintiff is entitled to damages against all Defendants, jointly and

severally, as follows:

a. Against Defendant HENRY NENIEBARI WIFA for all actual damages allowed

-3-

 

 
 

Case 5:22-cv-00159-F Document1-2 Filed 02/22/22 Page 4 of 4

by Oklahoma Law in excess of Seventy-five Thousand Dollars ($75,000.00) plus
exemplary damages in excess of Seventy-five Thousand Dollars ($75,000.00).

b. Against Defendant HAL | IBURTON ENERGY SERVICES for all actual
damages allowed in eXCEss of Seventy-five Thousand Dollars ($75,000.00) plus
exemplary damages in excess of Seventy-five Thousand Dollars ($75,000.00).

c. That Plaintiff's actual an¢ exemplary damages against the Defendants exceed an
amount that is in excess of the minimum amount of jurisdictional limits required
for diversity jurisdiction pursuant to Section 1332 of Title 28 to the United States
Code.

d. Pre-judgment and post-judgment interest at the legal rate; and

e. Such other and further relief as she may be justly entitled to receive.

 
 

 

-G. THORNE STALLINGS, JR.
OBA #12000
STALLINGS LAW OFFICES
| Blanchard Professional Building - Suite 3
| 1019 North Council
P.O. Box 1370
Blanchard, Oklahoma 73010
Telephone: (405) 485-3444
Facsimile: (405) 485-3137

E-mail: T.stallings@stallingsatty.com

i -and-

 

 

LYSBETH L. GEORGE, OBA #30562
LAW OFFICE OF LIZ GEORGE, PLLC
Blanchard Professional Building

1019 N. Council - Suite 3

P.O. Box 1375

Blanchard, Oklahoma 73010

Telephone: (405) 689-5502

Facsimile: (405) 689-5502

E-mail: liz@georgelawok.com

Attorneys for Plaintiff, TIANA STANLEY

ATTORNEY’S LIEN CLAIMED

 

 
